       05-62020-lek Doc#12
                         IN Filed
                             THE 10/05/05
                                  UNITED Entered
                                          STATES 10/05/05 20:30:37
                                                  BANKRUPTCY       Main Document Pg 1 of 2
                                                                COURT
                      WESTERN DISTRICT OF TEXAS/WACO DIVISION

IN RE: ANQUENETTA DUNNER-HOBBS                                               CASE No.
       4303 DUGGER STREET
                                                                             05-62020 LK
       WACO TX                        76705-0000

                                 FINAL REPORT AND ACCOUNT
                                                                         SS#1 - XXX-XX-6528
                                                                         SS#2 - XXX-XX-0000

This Case was                   The Plan was                     The Case was
commenced on Aug 19, 2005       confirmed on                     concluded on Aug 31, 2005

THIS CASE IS DISMISSED BEFORE CONFIRMATION           .
     Your trustee has maintained a detailed record of all receipts, including
the source or other identification of each receipt and of all disbursements.
Copies of these detailed records have been filed with the Court, or are attached
hereto, and are incorporated by reference in this report.


RECEIPTS: Amount paid to the Trustee by or for the Debtor for              the   benefit of
          creditors.                                                              $       .00

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DISBURSEMENTS TO CREDITORS     CLASS        AMOUNT     AMOUNT PAID       BALANCE
         CREDITOR'S NAME                   ALLOWED PRINCIPAL   INTEREST    DUE
--------------------------------------------------------------------------------
GARY WILLIAM CUNHA           NOT FILED        .00       .00      .00        .00

SUMMARY OF CLAIMS ALLOWED AND PAID
--------------------------------------------------------------------------------
         SECURED   PRIORITY   GENERAL     LATE     SPECIAL   TOTAL
---------------------------------------------------------------------TOTAL PAID
AMT ALL.       .00       .00       .00                  .00        .00 PRINCIPAL
PRIN PD        .00       .00       .00                  .00        .00 AND INT.
INT PAID       .00       .00       .00                             .00        .00
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OTHER DISBURSEMENTS UNDER ORDER OF COURT:
          DEBTOR'S ATTORNEY             FEE ALLOWED    FEE PAID
PRO SE - DEBTOR                                .00            .00
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COURT COSTS AND OTHER EXPENSES OF ADMINISTRATION:

FILING FEE     ADDITIONAL CHARGES                 TRUSTEE         OTHER
             -----------------------        -------------------
& DEPOSIT      1% OF    .25 EA CLAIM        EXP. & COMPENSATION    COST
             RECEIPTS     OVER 20                 FUND
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      .00                                        .00/      .00        .00              .00




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IN RE: ANQUENETTA DUNNER-HOBBS                                          CASE No.05-62020 LK


     WHEREFORE,   your Petitioner prays that a Final Decree be entered discharging
your Petitioner   as Trustee and releasing your Petitioner and the Trustee's sure-
ty from any and   all liability on account of the within proceedings, and closing
the estate, and   for such other and further relief as is just.

                                              /s/ Ray Hendren
                                              ________________________________________
                                              RAY HENDREN CH13 TRUSTEE
                                              8310 CAPITAL OF TX HWY N
                                              SUITE 475
                                              AUSTIN TX                      78731-0000
CC: US TRUSTEE
    903 SAN JACINTO STE 230

    AUSTIN TX                           78701-0000
